                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

                                   CASE NO. 3:17-cv-149-FDW-DCK

CARLSON ENVIRONMENTAL                          )
CONSULTANTS, PC,                               )
                                               )
                      Plaintiff,               )        RESPONSE IN OPPOSITION TO
                                               )          PLAINTIFF’S MOTION FOR
       v.                                      )         PRELIMINARY INJUNCTION
                                               )
SEAN SLAYTON,                                  )
                                               )
                      Defendant.               )


       Plaintiff’s Motion for Preliminary Injunction seeks to prevent Sean Slayton from utilizing

his work experience and skills gained before his employment with Plaintiff to drill holes in the

ground on projects awarded to his current employer before he was hired and at prices that were

negotiated and agreed upon before he was hired. Plaintiff did not train Slayton to drill or provide

him with any new skills or techniques.       Slayton performs drilling work following specific

location and depth instructions created by engineers. Further, the prices Plaintiff charges for the

drilling work are widely known and Plaintiff freely provided those prices to Slayton’s current

employer, Landmarc Environmental Systems (“Landmarc”), before he was hired.                 While

working for Landmarc, Slayton has only worked on projects for which Plaintiff could not

compete, chose not to compete, was not invited to compete, and/or on which lost the bid to an

entity that is not Slayton’s current employer. Plaintiff has no legitimate, protectable business

interest in preventing Slayton from drilling holes, yet preventing Slayton from drilling would

deprive him of the only livelihood he has ever known.



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   Case 3:17-cv-00149-FDW-DCK             Document 21        Filed 09/14/17      Page 1 of 23
       Plaintiff’s decision to wait more than seven months before seeking a preliminary

injunction demonstrates the lack of any irreparable harm. Plaintiff terminated Slayton in

December of 2016, knew he was employed with his current employer in January of 2017 and

delayed filing any lawsuit until March of 2017. Once the lawsuit was filed, Plaintiff delivered

just one third party subpoena, in July of 2017, and did not serve any discovery on Slayton (and as

of September 11, 2017, still had not responded to Slayton’s overdue discovery). It then waited

until August 31, 2017 to file any request for injunctive relief. Despite the passage of seven

months since Plaintiff knew of Slayton’s current employment, Plaintiff presents the relief it seeks

as urgently needed to protect some valuable, confidential information and now seeks to extend

its relief against Slayton for the same amount of time by which it has delayed. Plaintiff bases its

request for relief on an unenforceable two-year, nationwide non-compete agreement that it

imposed on Slayton several months after it hired him, without any additional consideration.

Plaintiff seeks the extraordinary relief of preventing Slayton from working anywhere in the

United States, despite admitting that it does not compete for drilling jobs in all fifty states and

despite admitting that Slayton did not work in all fifty states when employed by Plaintiff.

Plaintiff’s Motion is supported by nothing more than bald assertions and speculation and should

be denied.

                            STATEMENT OF RELEVANT FACTS

       Defendant Sean Slayton (“Slayton”) began his career immediately after high school as a

recovery technician, removing hazardous waste from various sites and environmental disasters.

See Slayton Aff. ¶ 2. He worked his way up and ultimately became a landfill gas well driller. See

Slayton Aff. ¶ 3-4. Slayton has been drilling for approximately 18 years. See Slayton Aff. ¶ 4. He

has no other education, training, certifications, or experience. See Slayton Aff. ¶ 2-4.

                                                 2


   Case 3:17-cv-00149-FDW-DCK              Document 21        Filed 09/14/17      Page 2 of 23
       In 2007, Slayton’s wife formed a company, Quality Drilling Service (“QDS”). See

Slayton Aff. ¶ 5. Slayton began working for QDS as a driller, but did not own an interest in the

company. See Slayton Aff. ¶ 6. QDS performed landfill gas well drilling pursuant to subcontracts

it entered into with general contractors who performed more comprehensive waste management

work. See Slayton Aff. ¶ 8. While employed for QDS, Slayton did not set pricing. See Slayton

Aff. ¶ 17-18.

       During the summer of 2015, Plaintiff Carlson Environmental Consultants, PC (“Plaintiff”

or “CEC”) began discussions and negotiations to purchase the assets of QDS. See Memorandum

of Law in Support of Motion for Preliminary Injunction (“Memorandum”) [Doc. 17] p. 3. In July

of 2015, Slayton began his employment with CEC. See Slayton Aff. ¶ 10. On November 19,

2015, CEC purchased the assets of QDS. Memorandum [Doc. 17] p. 4. As Slayton was not an

owner of QDS, he did not receive any of the proceeds from that sale. See Slayton Aff. ¶ 11.

       After Slayton began his employment with CEC, he drilled gas wells onsite at various

landfills. See Slayton Aff. ¶ 10, 13. CEC performed general contractor services, contracting

directly with landfill owners and operators for more comprehensive waste management projects,

which included engineering and construction quality assurance, along with drilling and other

construction work. See Slayton Aff. ¶ 13. CEC also subcontracted some drilling work from other

prime contractors. See Slayton Aff. ¶ 13. Slayton’s work consisted primarily of the subcontracted

drilling work. See Slayton Aff. ¶ 16.

       Slayton was not involved and did not participate in the pricing or bidding for any of the

general contracting work performed by CEC. See Slayton Aff. ¶ 17. Slayton did not perform any

of the other contracting work under the general contracts awarded to CEC. His work was limited

to the actual drilling of holes at locations and depths selected by others. See Slayton Aff. ¶ 20,

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   Case 3:17-cv-00149-FDW-DCK             Document 21       Filed 09/14/17      Page 3 of 23
21, 28. With regard to the subcontracted drilling work, Slayton was at times aware of the price

that was quoted or invoiced to the general contractor—but Slayton was not involved in preparing

the bids or determining the prices that were quoted. See Slayton Aff. ¶ 17, 19. Slayton did not

have any information about CEC’s pricing that was not previously made available to all of the

contractors with which CEC worked, including Slayton’s current employer, Landmarc. See

Slayton Aff. ¶ 19.

       Slayton did not learn any confidential information or trade secrets while employed by

CEC. He was not trained by CEC for any of the work he performed. See Slayton Aff. ¶ 29.

Landfill gas well drilling does not involve the use of confidential information or trade secrets.

See Slayton Aff. ¶ 21. A driller does not select the location or depth for drilling holes. Instead,

engineers stake the ground and provide specific instructions on where and how deep to drill. See

Slayton Aff. ¶ 21. Slayton was not involved in CEC’s decisions to give raises or bonuses to the

employees performing drilling work for CEC, and was generally unaware when raises or bonuses

were given. See Slayton Aff. ¶ 23.

       In December of 2016, CEC terminated Slayton’s employment for what it has

characterized as “job-related misconduct and failure to operate CEC’s drilling business in an

acceptable manner.” See Slayton Aff. ¶ 24 and Memorandum [Doc. 17] p. 6. Vince Coleman, a

principal of CEC, told Slayton he was fired, that Slayton could do what he wanted, and that he

could take both of his sons with him. See Slayton Aff. ¶ 25. At that time, Slayton’s sons, Chaz

and Austin, also worked for CEC. See Slayton Aff. ¶ 26.

       On January 16, 2017, Slayton began working as a drill rig operator for Landmarc. See

Slayton Aff. ¶ 27-28. Most of the work that he has performed for Landmarc is pursuant to a

contract between Landmarc and Republic Services Procurement, Inc. that was negotiated and

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   Case 3:17-cv-00149-FDW-DCK             Document 21        Filed 09/14/17      Page 4 of 23
awarded to Landmarc before Slayton became employed by Landmarc. See Slayton Aff. ¶ 29. The

prices for drilling work that Landmarc performs for Republic Services were negotiated in 2015

and fixed for a three-year term, from January 1, 2016, through December 31, 2018. See

Landmarc Aff. ¶ 5. The Republic-Landmarc Master Agreement (“MSA”) under which Slayton

drills was negotiated in 2015, for a three year term, from January 1, 2016 through December 31,

2018, before Slayton was employed by Landmarc. See Landmarc Aff. ¶ 5, 10.                           As such, the

agreement was fixed before Slayton became employed by Landmarc and extends beyond the

expiration of Plaintiff’s non-compete. Thus, Slayton cannot be said to have any impact on CEC

or Landmarc’s ability to compete for this work.

        Similarly, the remaining sites on which Slayton has worked could not have resulted from

any unfair advantage gained by Slayton’s prior employment with CEC. Slayton has worked for

the city of Amarillo, Texas. This work was obtained by Landmarc through a competitive and

open bid process. CEC did not bid for this project. See Aff. Landmarc 13, 15.

        The Arbor Hills, Kentucky site identified in plaintiff’s brief was subcontracted to the bid

winner, BEL Environmental (BEL)1. See Aff. Landmarc. ¶ 13, 16.                          Contrary to Plaintiff’s

assertions, CEC did not lose bids for this project to Landmarc. Rather, it lost out to BEL. See

Aff. Landmarc. ¶ 16. BEL solicited quotes from several drilling companies, not including CEC,

and ultimately awarded the subcontract to Landmarc. See Aff. Landmarc. ¶ 16.                       CEC was not

asked to bid. Slayton has not solicited any work from BEL. See Aff. Landmarc ¶ 16. Moreover,

as early as June, 2016, CEC had decided to eliminate BEL from its list of preferred drilling

clients. See Aff. Slayton ¶ 14.



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  The bid also pertained to work at two sites in South Carolina, Hickory Hill and Oakcridge. Slayton did no work at
the South Carolina sites.
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    Case 3:17-cv-00149-FDW-DCK                    Document 21          Filed 09/14/17         Page 5 of 23
       The remaining drilling work performed by Slayton had been obtained by Landmarc, as a

result of long standing personal and professional relationships with existing clients. See Aff.

Yuhua Ma.

       The sworn testimony of both owner and construction manager of Advanced One

Development, both of whom refute plaintiff’s baseless accusation that Advanced One was

solicited by Slayton. See Aff. Brinker ¶ 3 and Aff. Murrer ¶ 4. Of note, Plaintiff’s discovery

responses, produced on September 12, 2017, specifically identify Mr. Murrer as having been

directly contacted by Slayton. Carlson Interrogs., p. 8. This allegation has now been refuted,

under oath.

       Slayton is not and was not involved in the solicitation, pricing, bidding, or negotiation of

any of the work that Landmarc performs for any of its customers. See Landmarc Aff. ¶ 11.

Slayton has not solicited any work for Landmarc, and has not shared with Landmarc any

confidential information or trade secrets belonging to CEC. See Landmarc Aff. ¶ 12. Slayton has

not shared with Landmarc any of CEC’s price formulations, methods of calculating bids, or any

other information relating to CEC’s pricing or bidding process. See Landmarc Aff. ¶ 12.

Likewise, Slayton has not shared any of the salaries or other compensation CEC pays to its

employees. See Landmarc Aff. ¶ 12. CEC’s discovery responses further reveal that its allegation

that Slayton solicited employees is baseless. See Carlson Interrogs. No. 5 (admitting is “is not

known” when Slayton allegedly recruited any employees, producing no evidence of what he

allegedly said, and admitting Slayton has spoken with but “has not directly tried to hire” current

CEC driller Shane Simpson – evidencing Slayton’s compliance with the covenant). Neither

Slayton nor Landmarc are performing any drilling work pursuant to a contract between

Landmarc and Waste Management. See Landmarc Aff. ¶ 13.

                                                6


   Case 3:17-cv-00149-FDW-DCK             Document 21        Filed 09/14/17     Page 6 of 23
       CEC now seeks to enforce its November 19, 2015 Confidentiality and Noncompetition

Agreement, which was executed four months after Slayton began working for CEC and without

consideration. CEC can show no legitimate interest that it seeks to protect with the enforcement

of this agreement. It can show no irreparable harm. The covenant not to compete is overly broad,

and the equities favor denying CEC’s Motion.

                                         ARGUMENT

       A. Legal Standard

       “A preliminary injunction is an extraordinary remedy, to be granted only if the moving

party clearly establishes entitlement to the relief sought.” Manning v. Hunt, 119 F.3d 254, 263

(4th Cir.1997). Federal courts sitting in diversity apply federal standards when assessing requests

for preliminary injunctions. Direx Israel, Ltd. v. Breakthrough Med. Corp., 952 F.2d 802, 811

(4th Cir.1991). “A plaintiff seeking a preliminary injunction must establish that he is likely to

succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary

relief, that the balance of equities tips in his favor, and that an injunction is in the public

interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20, 129 S.Ct. 365, 172 L.Ed.2d

249 (2008). “The plaintiff bears the burden of establishing that these factors favor granting the

injunction.” Manning v. Hunt, 119 F.3d 254, 263 (4th Cir. 1997). Finally, “the plaintiff must

make a clear showing of actual, imminent, and irreparable harm, as well as the inadequacy of

legal remedies, to warrant further consideration under the four-factor test.” In re Irrevocable

Standby Letter of Credit No. SE444393W, 336 F.Supp.2d 578, 581 (M.D.N.C. 2004). Here, all

four of the factors weigh against CEC’s requested relief, and its Motion should be denied.

       B. CEC Is Unlikely to Succeed on the Merits Because the Non-Compete Is
          Unenforceable.


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   Case 3:17-cv-00149-FDW-DCK             Document 21        Filed 09/14/17      Page 7 of 23
       North Carolina courts disfavor restrictive covenants, closely scrutinizing them for

invalidity. See, e.g., Outdoor Lighting Perspectives Franchising, Inc. v. Harders, 228 N.C. App.

613, 620, 747 S.E.2d 256, 262 (2013). For a restrictive covenant to be valid, a plaintiff must

demonstrate that the covenant is (1) in writing, (2) part of the employment contract, (3) based on

valuable consideration, (4) reasonable as to time and territory, and (5) designed to protect a

legitimate business interest. See Hejl v. Hood, Hargett & Assocs., Inc., 196 N.C. App. 299, 304,

674 S.E.2d 425, 428 (2009). “The party who seeks enforcement of the covenant has the burden

of proving the reasonableness of the agreement.” Medical Staffing Network, Inc. v. Ridgeway,

194 N.C. App. 649, 655, 670 S.E.2d 321, 327 (2009). CEC has not met that burden here.

       1. The Non-Compete CEC Seeks to Enforce Does Not Support Any Legitimate
          Business Interest.

       In support of its position that the non-compete supports a legitimate business interest,

CEC simply quotes the Confidentiality and Noncompetition Agreement, and then states that it

has an interest in protecting customer relationships from “misappropriation” and that his

subsequent employment “would give the competitor an unfair advantage and would threaten the

unauthorized disclosure of CECs confidential information.” Memorandum [Doc. 17] p. 13. Yet,

in all of its affidavits and exhibits, CEC has offered no evidence of misappropriation of customer

relationships or disclosure of CEC’s confidential information by Slayton. Moreover, the

evidence establishes that Slayton has not misappropriated customer relationships or disclosed

confidential information. See Slayton Aff. ¶ 31, 32, 33, 38, 39. In fact, the evidence shows that

Slayton is not in possession of any trade secrets or confidential information to disclose. See

Slayton Aff. ¶ 29.




                                                8


   Case 3:17-cv-00149-FDW-DCK             Document 21       Filed 09/14/17      Page 8 of 23
        The majority of Slayton’s work is operating a drill rig at landfills owned by Republic

Services under a contract negotiated between Republic Services and Landmarc in 2016, before

Landmarc hired Slayton. See Landmarc Aff. ¶ 14. The price for drilling work for that contract

was negotiated between Republic Services and Landmarc in 2015, and that price remains fixed

through 2018. Id. Similarly, the remaining work Slayton is performing is work that CEC either

(1) did not bid on, (2) lost to a separate competitor, or (3) was not invited to bid on. See

Landmarc Aff. ¶ 15-20. CEC has no legitimate business interest in such work. Landmarc has no

current contract with the second of Plaintiff’s “most important clients”, Waste Management, and

Slayton has not performed work pursuant to any contract between Waste Mangement and

Landmarc. See Landmarc Aff. ¶ 13.

        Slayton’s alleged knowledge of CEC’s pricing (knowledge Landmarc already had by

virtue of its contracts with CEC), could not benefit Landmarc even if Slayton had shared that

information, which he did not. When Landmarc engages CEC as a drilling subcontractor, CEC

invoices Landmarc for work done. CEC, in the ordinary course of business, has disclosed to

Landmarc the prices CEC charges. See Landmarc Aff. ¶ 9. As a result, Plaintiff cannot claim its

pricing was confidential, or that it took steps to protect it as confidential, when it regularly places

the very information it is now seeking to protect in the hands of third parties, including Slayton’s

current employer.

        2. The Covenant Not to Compete is Not Reasonable as to Time or Territory.

        CEC’s non-compete covenant is also invalid and unenforceable due to its unreasonable

geographic and temporal scope. North Carolina courts analyze the two as a whole, considering

six factors:



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   Case 3:17-cv-00149-FDW-DCK               Document 21        Filed 09/14/17       Page 9 of 23
                   (1) the area, or scope, of the restriction; (2) the area assigned to
                   the employee; (3) the area where the employee actually worked
                   or was subject to work; (4) the area in which the employer
                   operated; (5) the nature of the business involved; and (6) the
                   nature of the employee’s duty and his knowledge of the
                   employer’s business operation.

Horner International Co. v. McKoy, 232 N.C. App. 559, 565, 754 S.E.2d 852, 857 (2014).

       Another “major consideration in determining the reasonableness of restrictions as to time

and territory relates to the type of position occupied by the employee, and the skills and/or

knowledge obtained by the employee while under employment.” Manpower of Guilford Cty.,

Inc. v. Hedgecock, 42 N.C. App. 515, 521, 257 S.E.2d 109, 114 (1979) (emphasis added). The

geographic territory used within a restrictive covenant can be no greater than is reasonably

necessary to secure the protection of the business or good will of the employer. Id. Where the

alleged primary concern is the employee’s knowledge of the customers, “the territory should

only be limited to areas in which the employee made contacts during the period of his

employment.” Hartman v. W.H. Odell and Associates, Inc., 117 N.C. App. 307, 313, 450 S.E.2d

912, 917 (1994). As noted above, the clients for whom Slayton is currently drilling have no

possible connection to Landmarc.

       CEC’s own non-compete covenant provides four different, progressively more limited

definitions for “restricted territory” in the event that the “United States” is deemed unreasonable

or otherwise invalid or unenforceable. Complaint [Doc.1] Ex. 1 p. 6. CEC’s proposal of several

less restrictive (but still overly broad) geographic limits is a tacit admission that the nationwide

limitation is unreasonable on its face. With the exception of the most restrictive (fifty state)

geographical restriction, Plaintiff has not and cannot offer any evidence that Slayton violated the

non-compete.


                                                 10


  Case 3:17-cv-00149-FDW-DCK               Document 21        Filed 09/14/17       Page 10 of 23
       An application of the six factors reveals that the restrictive covenant is invalid and

unenforceable. First, CEC seeks to restrict Sean Slayton from working for any competitor

throughout the entire United States. Complaint [Doc.1] Ex. 1 p. 6. The geographic area is not

limited to locations where Sean Slayton actually performed services for CEC or clients with

whom CEC can demonstrate actual competition. In fact, in its Complaint, CEC alleges that Sean

Slayton performed services in 23 states and Puerto Rico. Id. ¶ 29. Slayton contends that he

worked in just 14 states. See Slayton Aff. ¶ 22. Notwithstanding the same, CEC attempts to

prevent him from working every state, increasing the area where he is not permitted to work to

anywhere from double to more than three times the area in which he actually performed services

for CEC and with clients for which Plaintiff does not and cannot compete. North Carolina law is

clear that where a non-compete extends to areas where an employee had no business dealings for

the employer, the territorial restriction is overbroad and unenforceable. See, e.g., Hejl, 196 N.C.

App. at 307, 674 S.E.2d at 430. Here, Plaintiff seeks to extend to territories beyond Slayton’s

experience and with clients beyond its experience.

       Similarly, in its Complaint, CEC alleges that it “provided landfill gas construction

services to 39 states” in 2015 and 2016. Id. ¶ 29. Nonethelesss, CEC attempts to restrict Sean

Slayton from employment with any competitor in an area 25% larger than CEC’s claimed

operational area. Plaintiff’s allegation that it “provided” services in 39 states is called into

question by its discovery responses, served on September 12, 2017. Carlson RFP No. 1, p. 28.

Because Landmarc does not have a contract with Waste Management, and is not performing

work for Waste Management pursuant to any such contract, there is no risk that Slayton’s

employment with Landmarc will impact CEC’s rights. Thus, even a 39 state restriction would be

overbroad here.

                                                11


  Case 3:17-cv-00149-FDW-DCK              Document 21       Filed 09/14/17      Page 11 of 23
       Finally, Slayton performs landfill drilling work, drilling holes in locations designated by

engineers. See Landmarc Aff. ¶ 10. Slayton has been performing this work for 18 years, and any

skills or knowledge he has about drilling he had prior to his employment with CEC. He is a good

employee and a hard worker, but his skillset does not influence a company’s ability to get work.

See Landmarc Aff. ¶ 11. Slayton’s job is not to obtain new work for Landmarc. He is drilling

under a contract with terms and prices that were negotiated by Landmarc and Republic while he

still worked for CEC. As such, his employment cannot be “unfair” and does not put at risk any

“confidential information” about CEC’s business or industry. The work was already awarded to

Landmarc before Slayton was even hired by Landmarc.

       The time limitation in the non-compete covenant is also overly broad and invalid,

particularly when coupled with the expansive geographic restriction. The geographic restriction,

regardless of whether actual competition for work exists, was designed to punish Slayton and

limit competition, not to protect any legitimate business interest. Its effect would be to keep

Slayton from doing the only job he has done for 18 years, anywhere in the United States for two

years. The geographic territory and the time limitation are far greater than necessary to protect

CEC’s legitimate business interest, and is therefore unenforceable.

       3. The covenant is otherwise overbroad.

       Restrictive covenants that effectively prohibit all employment or association with an

employer’s competitor are invalid. See VisionAIR, Inc. v. James, 167 N.C. App. 504, 508, 606

S.E.2d 359, 362 (2004) (holding as unenforceable a non-compete covenant preventing the

employee from doing unrelated work at a competitor’s firm or “indirectly” owning an interest in

a competitor’s firm). In VisionAIR, the North Carolina Court of Appeals reviewed the

enforceability of a non-compete covenant that prohibited an employee from “‘selling or

                                               12


  Case 3:17-cv-00149-FDW-DCK             Document 21        Filed 09/14/17     Page 12 of 23
developing software products which will directly or indirectly compete with any of the

Employer’s software products’ or from ‘owning, managing, being employed by, or otherwise

participating in, directly or indirectly, any business similar to Employer’s’ within the Southeast.”

Id. at 506, 606 S.E.2d at 361. The court concluded that “[s]uch vast restrictions on [the

employee] cannot be enforced.” Id.

       Here, the non-compete covenant is too broad to be enforceable. The non-compete

covenant provides that Sean Slayton shall not “develop, market, solicit, sell, or otherwise provide

or perform services identical to those services that Employee developed, marketed, solicited,

sold, provided or performed while employed with Employer.” Complaint [Doc. 1], Ex. 1 p. 5.

Like the non-compete in VisionAIR, the non-compete would prevent Defendant from, for

example, selling services identical to those he performed for CEC. This restriction prevents

Slayton from performing unrelated work. The non-compete is thus invalid under VisionAIR.

VisionAIR, Inc., 167 N.C. App. at 509, 606 S.E.2d at 363.

       4. The Covenant Not to Compete Was Not Part of Slayton’s Employment
          Agreement and Was Not Based on Valuable Consideration.

       The covenant CEC seeks to enforce was neither part of Slayton’s employment contract

nor based on valuable consideration. In North Carolina, a covenant not to compete signed after

the employment relationship was already in place is not enforceable without new or additional

consideration.

       Indeed, in James C. Green Co. v. Kelley, 261 N.C. 166, 168, 134 S.E.2d 166, 167 (1964),

the Supreme Court of North Carolina declined to enforce a non-compete entered into

approximately one year after the employer-employee relationship began, as the written contract

the employer attempted to enforce did not change the employee’s employment status and was not


                                                13


  Case 3:17-cv-00149-FDW-DCK              Document 21        Filed 09/14/17      Page 13 of 23
supported by consideration. The Kelley court expressly held that “when the relationship of

employer and employee is already established without a restrictive covenant, any agreement

thereafter not to compete must be in the nature of a new contract based upon new consideration.”

Id.

         Here, all of the evidence demonstrates that from “July, 2015, through his termination of

December 14, 2016, Sean Slayton served as a Drilling Superintendent/Supervisor for CEC.” See

Affidavit of Kristofer Carlson, P.E. [Doc. 16-5] ¶ 20. Yet, the Confidentiality and

Noncompetition Agreement, the agreement CEC seeks to enforce, was not executed until

November 19, 2015, four months after Slayton began his employment with CEC. See Id., Ex. 1.

         Sean Slayton did not receive a bonus, a raise, a new title, new responsibilities, or any

other consideration for his execution of the Confidentiality and Noncompetition Agreement on

November 19, 2015. See Slayton Aff. ¶ 12. Rather, Slayton received his first paycheck from

CEC on July 24, 2015, for the pay period beginning July 11, 2015, and every paycheck he

received thereafter in 2015 reflected his existing salary, with no bonus, raise, or other

compensation. See Slayton Aff. ¶ 12 and Ex. A.

         Likewise, Slayton was not an owner of QDS, and received none of the proceeds from the

sale of its assets to CEC. See Slayton Aff. ¶ 11. No additional consideration was paid to support

the November 19, 2015 Confidentiality and Noncompetition Agreement, making it

unenforceable as a matter of law.

         C. CEC Can Show No Irreparable Harm.

         Under the hardship balancing test, the likelihood of irreparable harm to the Plaintiff if

denied and the likelihood of harm to the defendant if granted are the most important factors for

this Court’s consideration. Manning v. Hunt, 119 F.3d 254, 263 (4th Cir.1997). Here, Plaintiff

                                                14


      Case 3:17-cv-00149-FDW-DCK          Document 21       Filed 09/14/17     Page 14 of 23
cannot show that it will suffer irreparable harm if Slayton is allowed to keep working under a

contract Landmarc had in place before Slayton’s employment began. CEC’s delay in seeking this

injunction evidences the absence of irreparable harm.

       1.      Plaintiff Cannot Show Irreparable Harm.

       CEC first learned that Slayton was drilling more than seven months ago, as demonstrated

by its January 27, 2017 cease and desist letter. See Complaint [Doc. 1] Ex. 3. CEC then waited

until March 22, 2017, before filing the instant action. Id. CEC has not served any written

discovery on Slayton, and has not attempted to schedule a single deposition during the five

months this action has been pending. Instead, on April 19, 2017, CEC hired a private investigator

to sneak onto private property and spy on Slayton. Declaration of Richard Travelstead [Doc. 16-

9] ¶ 3. Then, on July 5, 2017, CEC delivered a subpoena for production of documents, dated

June 28, 2017 to Landmarc. Memorandum [Doc. 17] p. 8. CEC has done nothing to employ the

adequate and available legal remedies associated with discovery, mediation, and dispositive

motions. Moreover, CEC waited until August 31, 2017, more than seven months after sending

Slayton the cease and desist letter, before requesting injunctive relief to remedy its alleged

irreparable harm. CEC’s actions belie its unsupported assertions of irreparable harm.

       CEC contends that it has “lost an unprecedented number of bids to Landmarc, its

relationships with crucial customers Republic and Waste Management have been impaired and

its capacity to compete has been harmed in ways from which it might not recover.”

Memorandum [Doc. 17] p. 18 (emphasis added). The evidence, however, is contrary to CEC’s

assertions and speculation. In all of its affidavits and evidence produced, CEC has only identified

three jobs it allegedly lost to Landmarc: Hickory Hill and Oakridge in South Carolina and Arbor

Hills. See Nunes Aff. ¶ 5. CEC further states that it “lost the Arbor Hills project to Landmarc

                                                15


  Case 3:17-cv-00149-FDW-DCK              Document 21       Filed 09/14/17      Page 15 of 23
specifically due to lower bid prices by Landmarc.” Id. Landmarc was not awarded the contract

for these projects, BEL Engineering was. See Landmarc Aff. ¶ 16. BEL Engineering was, thus,

the prime contractor for all of the jobs, cited by plaintiff. None of those jobs involve a contract

between Waste Management and Landmarc or Republic and Landmarc. More importantly, CEC

stopped contracting with BEL prior to Slayton’s termination. See Slayton Aff. ¶ 14. Slayton did

not solicit work from BEL Engineering, and has not shared any pricing information with

Landmarc. Slayton Aff. ¶ 31, 32.

       Although, CEC states in its Memorandum that its relationship with Waste Management

has been impaired, CEC has not offered any evidence to support this contention. [Doc. 16] The

only assertion regarding Waste Management offered in any of CEC’s evidence is the reference

that Waste Management is one of CEC’s most important clients. CEC has presented no evidence

that Slayton previously preformed work for Waste Management, currently performs work for

Waste Management, has had any contact with anyone from Waste Management, or otherwise

solicited its work.

       With regard to Republic Services, the undisputable evidence demonstrates that Slayton is

performing drilling work for Landmarc pursuant to a contract that was negotiated and awarded to

Landmarc by Republic Services before Slayton’s employment began, based on pricing that was

negotiated and agreed upon while Slayton was employed by CEC. See Landmarc Aff. ¶ 5. CEC

has presented no evidence that Slayton had any direct contact with anyone from Republic

Services when he worked for CEC, that he has any direct contact with anyone from Republic

Services now, that he has solicited work directly from Republic Services, or that he otherwise

interfered in any way with CEC’s relationship with Republic Services.



                                                16


   Case 3:17-cv-00149-FDW-DCK             Document 21       Filed 09/14/17      Page 16 of 23
        Not only are CEC’s assertions contradicted by the evidence, but even if CEC were able to

show it lost any work because of Slayton’s conduct, “it is axiomatic that purely economic injury,

such as that resulting from lost sales, profits or market share, does not constitute irreparable harm

sufficient to warrant injunctive relief.” Southtech Orthopedics v. Dingus, 428 F. Supp. 2d 410,

418 (M.D.N.C. 2014). “North Carolina courts routinely recognize monetary damages measured

by lost profits as adequate to redress a breach of a covenant not to compete.” Id. CEC has alleged

nothing more than lost profits to support its claim it has been harmed by Slayton’s activities, and

CEC, an expert in its field, can easily establish what profits it would have earned from any job it

allegedly lost.

        The harm demonstrated by the Plaintiff must be “‘neither remote nor speculative, but

actual and imminent.’” Manning v. Hunt, 119 F.3d 254, 263 (4th Cir.1997). CEC has not

articulated any actual or imminent harm it will suffer if Slayton is allowed to keep working. By

its own allegation, CEC can only claim that it “might” not recover from the claimed harm.

Memorandum [Doc. 17] p. 18.

        2. Plaintiff Cannot Show Any Harm.

        Plaintiff, through its brief, seeks to demonstrate irreparable harm that warrants a

preliminary injunction. However, review of Plaintiff’s discovery responses and, indeed, its own

brief, reveals that no harm has befallen CEC as a result of Slayton’s departure. In response to

discovery, Plantiff has now produced documentation that demonstrates, as early as July, 2016,

that CEC had lost $290,000 on drilling in 2016 alone. Carlson RPD. No. 17, p. 51. In its brief,

Plaintiff contends that Slayton was fired due to what Plaintiff contends was “job-related

misconduct and failure to operate CEC’s drilling business in an acceptable manner.”

Memorandum [Doc 17] p. 6. Through discovery Plaintiff now contends that it is harmed

                                                 17


   Case 3:17-cv-00149-FDW-DCK             Document 21        Filed 09/14/17      Page 17 of 23
because it cannot hold Slayton out as a qualified driller when submitting bids to potential clients.

Carlson Interrogs. No. 1.    If CEC has been harmed at all, the harm was caused by CEC’s

termination of Slayton, not anything Slayton did post-termination. In addition to firing Slayton,

Plaintiff seeks to punish him and prevent him from working anywhere. Plaintiff would have the

Court believe that it fired a subpar employee who was costing CEC money and reputation, but

that that employee’s subsequent employment with a competitor is somehow bad for CEC. Such

an argument defies logic and fails to establish any harm, let alone irreparable harm.

       This, coupled with its significant delay in seeking this relief, strongly weigh against an

injunction.

       D. Slayton Will Suffer Irreparable Harm If He Is Unable to Work and a Balancing
          of the Equities Likewise Supports Slayton.

       CEC cannot establish any irreparable harm justifying a preliminary injunction; however,

Slayton will be unable to earn a living wage if he is enjoined from operating a drill rig. Slayton

began his career immediately after high school, shoveling hazardous materials from

environmental clean up sites. See Slayton Aff. ¶ 2. While working for his first employer, he

gradually transitioned from that position to one as a driller. Id. ¶ 4. Slayton has no college

degree, other special training, or any other employment experience.

       For the last 18 years, Slayton has earned his livelihood by performing landfill drilling

work. He was skilled in this field long before he began his employment with CEC, and he has no

other skills or experience that would enable him to transition to another field. If he is restrained

from working for two years, the harm to him, and his family, will be real and immediate.

       CEC alleges that a balancing of the equities favors CEC because Slayton “cannot be

harmed by being required to do what he already agreed to do.” See Memorandum [Doc. 17] p. 1.


                                                18


  Case 3:17-cv-00149-FDW-DCK              Document 21        Filed 09/14/17      Page 18 of 23
However, the Fourth Circuit has specifically rejected such an argument, holding that if courts

give weight to self-created harm, as argued by CEC, “then the balance of the harms will almost

always favor Plaintiff, thus transforming a preliminary injunction from an extraordinary remedy

into a routine occurrence.” See Maaco Franchising, LLC v. Ghirimoldi, 3:15-CV-99, 2015 WL

4557382 at *2 (W.D.N.C. July 28, 2015) (citing Scotts, Co. v. United Indus. Corp., 315 F.3d

264, 284 (4th Cir. 1995)); see also Prosperity Sys., Inc. v. Ali, 2010 WL 5174939, at *5 (D. Md.

Dec. 15, 2010) (“The Fourth Circuit, however, bars a court from giving “short shrift” to the harm

a defendant might suffer merely because it is self-inflicted.”). It is without question that Slayton

will suffer irreparable harm if he is enjoined from operating a drill rig at any landfill in the

United States for a period of two years.

       E. CEC’s Non-Compete Covenant Offends Public Policy and Violates the Public
          Interest.

       Finally, CEC’s non-compete provision violates public policy. When determining whether

a restrictive covenant violates public policy, this Court should consider whether CEC’s desire to

protect itself from unfair competition results in an undue hardship on the employees. Phelps

Staffing, 226 N.C. App. at 510, 740 S.E.2d at 927. In this case, enforcement of the non-compete

provision would effectively prevent Sean Slayton from being directly or indirectly affiliated

with, directly or indirectly owning an interest in, or working in any capacity for any company

that competes with CEC throughout the entire United States.

       CEC admits that its objective is “to limit CEC’s competitors’ ability to effectively

compete on these projects.” See Complaint [Doc. 1] ¶ 13. North Carolina law is clear that a

covenant not to compete that stifles normal business violates public policy:

               Our Supreme Court has said that when the effect of a contract “is
               merely to stifle normal competition, it is ... offensive to public

                                                19


  Case 3:17-cv-00149-FDW-DCK               Document 21       Filed 09/14/17      Page 19 of 23
               policy ... in promoting monopoly at the public expense and is bad.”
               Kadis v. Britt, 224 N.C. 154, 159, 29 S.E.2d 543, 546 (1944). In
               such a case, the public has a greater interest in preserving an
               individual's ability to earn a living than in protecting an employer
               from competition. Id. at 160, 29 S.E.2d at 546.

See Starkings Court Reporting Services, Inc. v. Collins, 67 N.C. App. 540, 542, 313 S.E.2d 614,

616 (1984). CEC’s stated efforts to stifle normal competition directly violate public policy.

       The public’s interest in preserving an individual’s ability to earn a living outweighs the

employer’s protection from competition “[w]hen the contract is defective ... because its practical

effect is merely to stifle normal competition ...” Electrical South, Inc. v. Lewis, 96 N.C. App.

160, 165, 385 S.E.2d 352 (1989) (citations omitted) (reasoning that two-year non-compete

preventing association with any employer who competes with plaintiff in a 200-mile locale

“produces oppressive results, which violate both the Plaintiff’s and Employee’s interest in his

earning a living.”). Here, the absence of any evidence of harm to CEC, coupled with CEC’s

efforts to prevent Slayton from working in at least 27 states in which he performed no work for

CEC, makes clear that the effect of the non-compete is merely to stifle normal competition, and

to put Slayton out of work.

                                         CONCLUSION

       Based on the foregoing, Defendant Sean Slayton respectfully requests that this Court

deny Plaintiff’s Motion for Preliminary Injunction.




                                                20


  Case 3:17-cv-00149-FDW-DCK              Document 21        Filed 09/14/17     Page 20 of 23
   This the 14th day of September, 2017.

                               TEAGUE, CAMPBELL, DENNIS & GORHAM, L.L.P.

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                                           21


Case 3:17-cv-00149-FDW-DCK         Document 21     Filed 09/14/17      Page 21 of 23
                              CERTIFICATE OF WORD COUNT

        The undersigned certifies, pursuant to Section 3(b)(iv) of the Initial Scheduling Order

issued pursuant to the Standing Order Governing Civil Case Management Before the Honorable

Frank D. Whitney, Misc. No. 3;07-MC-47 (Doc. No. 2), and in reliance upon the word count of

the word-processing system used to prepare the foregoing Memorandum, that the foregoing

Memorandum complies with the Order and does not exceed 6,000 words, including headings,

footnotes, quotations and citations, but exclusive of the case caption, any table of contents, table

of authorities, and certificates of counsel.

        This the 14th day of September, 2017.

                                        TEAGUE CAMPBELL DENNIS & GORHAM, LLP



                                        BY:      /s/ William A. Bulfer
                                                 William A. Bulfer




                                                   22


   Case 3:17-cv-00149-FDW-DCK                  Document 21     Filed 09/14/17    Page 22 of 23
                                CERTIFICATE OF SERVICE

       I hereby certify that on September 14, 2017 I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will send notification of such filing to the
following:

       G. Bryan Adams, III
       Van Hoy, Reutlinger, Adams & Dunn, PLLC
       737 East Boulevard
       Charlotte, NC 28203


       This 14th day of September, 2017.


                                    TEAGUE, CAMPBELL, DENNIS & GORHAM, L.L.P.



                                    BY: /s/ William A. Bulfer____
                                           William A. Bulfer




                                              23


  Case 3:17-cv-00149-FDW-DCK            Document 21       Filed 09/14/17     Page 23 of 23
